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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

BRIAN HAWKINS,                               )
                                             )
                     Plaintiff,              )
       v.                                    )         No. 1:17-cv-2575-KBJ-DAR
                                             )
ROBERT WILKIE,                               )
Secretary of Department of Veterans Affairs, )
and                                          )
                                             )
DEPARTMENT OF VETERANS AFFAIRS, )
                                             )
                     Defendants.             )
_____________________________________ )

             UNOPPOSED MOTION TO RESET SETTLEMENT CONFERENCE

       Defendants respectfully request that the settlement conference currently scheduled for

August 13, 2019, be reset. Good cause exists to grant this motion, as set forth below.

       1.      On July 8, 2019, the Court referred this matter to Magistrate Judge Robinson for

mediation.

       2.      On July 24, 2019, Magistrate Judge Robinson set a settlement conference for

August 13, 2019.

       3.      Christopher Hall, one of the Department of Justice attorneys assigned to this

matter, will be out of the office the week of August 12, 2019. Mr. Hall’s duties as an Assistant

Branch Director for the Department’s Federal Programs Branch encompass the supervision of

cases such as this one, and Defendants anticipate that his participation in this mediation would be

useful to any efforts to resolve the matter.

       4.      Defendants have not previously asked to reschedule the settlement conference.

       5.      Pursuant to Local Rule 7(m), the parties conferred regarding this motion.




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Plaintiff does not oppose the request to reschedule the settlement conference, and both parties are

generally available during the week of August 19, and both parties are also available August 28

and 30. Undersigned counsel anticipates traveling to Oakland, California for a hearing

scheduled for September 5, 2019.

       6.      The requested extension will have no impact on any other previously set deadlines

in this action, as long as it takes place prior to the September 16, 2019 deadline for filing a status

report with the Court.

       For the foregoing reasons, Defendant respectfully requests that the Court reset the

settlement conference currently scheduled for August 13, 2019.



 Date: July 31, 2019                           Respectfully submitted,


                                               JOSEPH H. HUNT
                                               Assistant Attorney General

                                               CHRISTOPHER R. HALL
                                               Assistant Branch Director

                                                   s/ Justin M. Sandberg
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